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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                *
       “DEEPWATER HORIZON” IN THE              *            MDL NO. 2179
       GULF OF MEXICO, on APRIL 20, 2010 *
                                               *            SECTION J
                                               *
    Relates to: No.10-8888 Doc. Ref. No. 63576 *            JUDGE BARBIER
                                               *
 Vessel of Opportunity (VoO) Contract Disputes *            MAG. JUDGE SHUSHAN
                                               *
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                                  NOTICE OF SUBMISSION

       PLEASE TAKE NOTICE THAT, subject to the provisions of PRE-TRIAL ORDER NO. 15,

Plaintiffs have tentatively scheduled the Motion for Partial Summary Judgment on contract

interpretation issues for hearing at 9:30 a.m. on October 12th, 2011.



Respectfully submitted,


   /s/ Stephen J. Herman                        /s/ James Parkerson Roy_____________
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